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                                                                     PRO HAC VICE APPLICATION,
                                                                   ECF REGISTRATION AND CONSENT
 UNITED STATES DISTRICT COURT                                          TO ELECTRONIC SERVICE,
EASTERN DISTRICT OF CALIFORNIA                                            PROPOSED ORDER




  United States of America,
                                   Plaintiff(s),
                                                     Case No.    2:17-CR-00169-GEB-2
  v.

  Chi Meng Yang, et al.,
                                  Defendant(s).


          I,                                Murdoch Walker II, Esq.                                  ,

 attorney for                              Gaosheng Laitinen, Defendant                           ,

 hereby petition for admission to practice Pro Hac Vice under the provision of Local Rule

 180(b)(2). I understand and consent to ECF Registration and Electronic Service as detailed

 below and I have submitted payment in the amount of $200.00 to the Clerk, U.S. District Court.

 In support of this petition, I state under penalty of perjury that:

          My business address is:

 Firm Name:                      Lowther | Walker LLC

 Address:                        101 Marietta St., NW
                                 Suite 3325

                                 Atlanta
 City:
                                 GA
 State:                                            ZIP Code: ___3_0_3_0_3_________________________

 Voice Phone:            ( 843        )_ 540-7903

 FAX Phone:              ( 866        )_ 819-7859

 Internet E-mail:           mwalker@lowtherwalker.com

 Additional E-mail:          mwalker@lowtherwalker.com

 I reside in City:            Falmouth                                 State:   Maine
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                                       State     Filed 11/15/18
                                             of Georgia           Page
                                                         on Oct. 30,    2 of 3
                                                                     2014
          I was admitted to practice in the                                                        (date). I am

presently in good standing and eligible to practice in said court. A certificate of good standing from

the court in my state of primary practice is attached to this application. I am not currently

suspended or disbarred in

any other court.

          I have 
                  / have not concurrently or within the year preceding this application made

a pro hac vice application to this court. (If you have made a pro hac vice application to this

court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)

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___________________________________________________________________________

                                                                                                                       .

          I hereby designate the following member of the Bar of this Court who is registered for

ECF with whom the Court and opposing counsel may readily communicate regarding the

conduct of the case and upon whom electronic notice shall also be served via the court's ECF

system:

Name: ________J_._P__
                    B_re_n_n_a_n_,_E
                                   __sq
                                      _._________________________________________

Firm Name:             Brennan Defense

Address:                901 H Street, Suite 303
                        Sacramento, CA 95814


City:

State:                  CA                ZIP Code:          95814

Voice Phone: (         916        )    498_-1776

FAX Phone:         (

E-mail:      info@brennan-defense.com



Dated:        10.31.18                        Petitioner: __________________________________
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        IT IS SO ORDERED.


Dated: November 14, 2018
